









Dismissed and Opinion filed February 27, 2003









Dismissed and Opinion filed February 27, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00159-CR

____________

&nbsp;

HENRY
THOMAS LAZENBY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 179th District Court

Harris
County, Texas

Trial
Court Cause No. 933,594

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a guilty plea, appellant was convicted of the offense
of unauthorized use of a motor vehicle and sentenced to three years= confinement in the Texas Department
of Criminal Justice--Institutional Division on December 18, 2002.&nbsp; No motion for new trial was filed.&nbsp; Appellant=s notice of appeal was not filed
until January 31, 2003.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of
appeal which complies with the requirements of Rule 26 is essential to vest the
court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed February 27, 2003.

Panel consists of Justices Yates,
Hudson, and Frost. 

Do Not Publish C Tex. R.
App. P. 47.2(b).

&nbsp;





